     Case 2:21-cv-00186-SAB      ECF No. 101   filed 12/29/22   PageID.1446 Page 1 of 4



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 2
 3                                                                          FILED IN THE
                                                                        U.S. DISTRICT COURT
                                                                  EASTERN DISTRICT OF WASHINGTON

 4
                                                                   Dec 30, 2022
 5                                                                     SEAN F. MCAVOY, CLERK


 6                           UNITED STATES DISTRICT COURT
 7                     EASTERN DISTRICT OF WASHINGTON
 8
 9 KINSALE INSURANCE COMPANY, a
10 foreign insurer,                                NO. 2:21-cv-00186-SAB
11              Plaintiff,
12              v.                                 ORDER STRIKING PENDING
13 WEEPING RIDGE LLC, a Washington                 MOTIONS AND DEADLINES;
14 limited liability company; WEEPING              SETTING LIMITED
15 RIDGE HOME HEALTH, LLC, a                       DISCOVERY SCHEDULE
16 Washington limited liability company;
17 WEEPING RIDGE LAKE SPOKANE,
18 LLC, a Washington limited liability
19 company; WEEPING RIDGE NORTH,
20 LLC, a Washington limited liability
21 company; WEEPING RIDGE WEST,
22 INC., a Washington corporation;
23 WEEPING RIDGE ESTATE ADULT
24 FAMILY HOME, INC., a Washington
25 corporation; GRANDE MANOR CARE,
26 INC., a Washington corporation; IPRI
27 LLC, a Washington limited liability
28 company; ISRAEL RODRIGUEZ, an
     ORDER STRIKING PENDING MOTIONS AND DEADLINES; SETTING
     LIMITED DISCOVERY SCHEDULE # 1
     Case 2:21-cv-00186-SAB        ECF No. 101   filed 12/29/22   PageID.1447 Page 2 of 4



 1
     individual; PENNY LEAH GARDNER an
 2
     individual; SEAN G. PAYNE, an
 3
     individual; MELISSA L. FINCH, an
 4
     individual; ERICA F. DOMINGUEZ, an
 5
     individual; AARON K. ROSS, an
 6
     individual; GARY L. BAKER, as personal
 7
     representative of the ESTATE OF LEAH
 8
     H. EVANS, Deceased; TONYA L.
 9
     ARNESON, an individual; BARBARA C.
10
     SALATICH, an individual; RUTH E.
11
     ESPARZA, as personal representative of
12
     the ESTATE OF J.A.C.J., Deceased;
13
     ENEDINA JIMENEZ, as an individual, as
14
     the natural mother and guardian of
15
     J.C.C.J., a minor, and as the duly appointed
16
     personal representative of the ESTATE OF
17
     MAGDALENO CASTRO SALVADOR,
18
     Deceased; NOLBERTA CASTRO
19
     JIMENEZ, an individual; IMELDA
20
     CASTRO JIMENEZ, an individual;
21
     MAGDALENO CASTRO, an individual;
22
     YULISA CASTRO, an individual; J.C.J, a
23
     minor; and Y.C.J., a minor,
24
                 Defendants.
25
26
           Before the Court are Plaintiff Kinsale’s Motion to Strike Pretrial Deadlines,
27
     ECF No. 74, and Motion for Summary Judgment, ECF No. 86; Defendant Israel
28
     ORDER STRIKING PENDING MOTIONS AND DEADLINES; SETTING
     LIMITED DISCOVERY SCHEDULE # 2
     Case 2:21-cv-00186-SAB     ECF No. 101    filed 12/29/22   PageID.1448 Page 3 of 4



 1 Rodriguez and the Weeping Ridge Defendants’ Motion to Expedite Hearing Re
 2 Motions to Stay and Motion to Strike, ECF No. 91, and Motion to Stay Pending
 3 Mandatory Arbitration and to Strike Plaintiff Kinsale Insurance Company’s
 4 Motion for Summary Judgment, ECF No. 92; Defendant Aaron Ross’s Joinder in
 5 Defendants’ Motion to Expedite Hearing Re Motions to Stay and Motion to Strike,
 6 ECF No. 94, Joinder in Plaintiff Kinsale Insurance Company’s Motion to Strike
 7 Pretrial Deadlines, ECF No. 95, and Joinder in Defendants’ Motion to Stay
 8 Pending Mandatory Arbitration and to Strike Plaintiff’s Motion for Summary
 9 Judgment, ECF No. 97’ and the Parties’ Stipulation to Strike and Reset Hearing
10 Date for Kinsale’s Motion for Summary Judgment [Dkt. 86] and to Set Briefing
11 Schedule, ECF No. 98.
12        Plaintiff is represented by Eric Neal, Kasie Kashimoto, and Thomas Lether.
13 Defendants are represented by counsel listed on the record. The motions were
14 heard without oral argument. Having considered the motions, the Court is well
15 informed and issues the following order.
16        Accordingly, IT IS ORDERED:
17        1. All pending motions, ECF Nos. 74, 86, 91, 92, 94, 95, 97, and 98, are
18           STRICKEN.
19              a. Plaintiff Kinsale Insurance Company’s Motion for Summary
20                  Judgment, ECF No. 86, is STRICKEN and subject to refiling after
21                  the Court rules on the issue of mandatory arbitration.
22        2. The pretrial conference set for April 6, 2023, the jury trial set for April
23           17, 2023, and all associated deadlines are STRICKEN.
24        3. The Court sets limited discovery between Plaintiff and Defendant Penny
25           Gardner concerning only the issue of mandatory arbitration.
26              a. The limited discovery concerning mandatory arbitration will last
27                  no later than (60) sixty-days from this order.
28
     ORDER STRIKING PENDING MOTIONS AND DEADLINES; SETTING
     LIMITED DISCOVERY SCHEDULE # 3
     Case 2:21-cv-00186-SAB    ECF No. 101    filed 12/29/22   PageID.1449 Page 4 of 4



 1              b. Discovery between Plaintiff and Defendant Penny Gardner shall
 2                 only concern the issue of mandatory arbitration.
 3        4. At the end of the 60-day limited discovery concerning mandatory
 4           arbitration, the Court will hold a status videoconference with the parties
 5           on March 14, 2023 by videoconference at 9:30 a.m.
 6        IT IS SO ORDERED. The District Court Clerk is hereby directed to enter
 7 this Order and to provide copies to counsel.
 8        DATED this 29th day of December 2022.
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13
14                                    Stanley A. Bastian
15
                              Chief United States District Judge
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     ORDER STRIKING PENDING MOTIONS AND DEADLINES; SETTING
     LIMITED DISCOVERY SCHEDULE # 4
